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               EXHIBIT A
   Case 4:20-cv-02254-YGR           Document 477-2         Filed 06/13/25      Page 2 of 14
                                                                                    Derek K. Kraft
                                                                                    Associate Attorney
                                                                                    T: +1 202.887.3771
                                                                                    dkraft@gibsondunn.com




March 27, 2025


VIA ELECTRONIC MAIL

Matthew M. Lavin
Thomas E. Kelly
Arnall Golden Gregory LLP
1775 Pennsylvania Ave NW, Suite 1000
Washington, DC 20006

David M. Lilienstein
DL Law Group
345 Franklin Street
San Francisco, CA 94102

Re:    LD, et al. v. United Behavioral Health, et al., Case No. 20-cv-02254-YGR (N.D.
       Cal.)

Dear Counsel:

        On behalf of the United Defendants, I write to follow up on our March 21, 2025 meet
and confer call to discuss fact discovery, and Plaintiffs’ counsel’s March 25 email requesting
production of voluminous member identifying information. As the parties discussed, the fact
discovery period (which runs until June 13) is short. The United Defendants therefore request
Plaintiffs’ prompt response to these issues.

        Plaintiffs’ inaccurate description of the parties’ February 26 meet and confer.
Plaintiffs’ March 25 email (Attachment A) claims that on the February 26 meet and confer,
“Plaintiffs requested a non-deidentified class list from United”—i.e., the claims data already
produced by the United Defendants, but with members’ identifying information included—
“which United agreed to provide.” Attachment A at 1. Neither of those things happened on
February 26. As you know, the February 26 meet and confer occurred before the Court
reopened fact discovery. The purpose of that meet and confer was to discuss the parties’
forthcoming joint report to the Court with the parties’ positions on “a briefing schedule for the
renewed motion for class certification.” Dkt. 471 at 2. On that call, Plaintiffs never said that
they would seek identifying information for each of the many thousands of claims at issue in
this case, which would have contradicted their repeated assurances in the joint report that
discovery would be “narrow,” “targeted,” and “focused.” See id. at 2-3. Nor did the United
Defendants “agree[] to provide” anything. To the contrary, we told Plaintiffs there should be
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no further discovery of any kind. In fact, Plaintiffs’ portion of the joint report represented to
the Court that “[o]n February 26, 2025, . . . . the United Defendants refused to compromise on
the issue of discovery prior to additional briefing.” Dkt. 471 at 2.

        Plaintiffs’ planned discovery. The first time Plaintiffs asked for “identified” versions
of the claims data was in an email on March 17—six days after the Court reopened fact
discovery. See Attachment A at 5. In addition to seeking identified claims data, that email
asked the United Defendants to reproduce materials that had been produced by providers in
the summer of 2022—all “within the next 24 hours.” Id. We informed Plaintiffs that the
provider materials had already been produced to Plaintiffs in full,1 but Plaintiffs asked us to
send those materials again because they “can’t find it.” Id. at 3-4. We then reproduced the
provider materials within two days, and promptly proposed a meet and confer call to discuss
Plaintiffs’ request for identified claims data and the scope of discovery more generally. Id. at
3.

         That meet and confer occurred on March 21. As we explained on that call, when
compiling the claims data for production during prior fact discovery, the United Defendants
did not pull member names for the entire data set (and Plaintiffs did not request those names
at the time). On the March 21 call, we explicitly told Plaintiffs that gathering identifying
information for the many thousands of claims would be extraordinarily burdensome,
unnecessary given the likely focus of discovery, and likely not feasible during this short fact
discovery period.2 Thus, Plaintiffs agreed to send a narrower list of 14 or so providers, so that
the United Defendants could explore the possibility of producing identified claims data for the
in-scope claims of those providers. Plaintiffs also told us that provider materials already in the
record might have the information that Plaintiffs need; they therefore agreed to review that
record material and reconsider whether production of identified claims data was necessary.
Please immediately let us know whether Plaintiffs have completed this review.

       On the March 21 call, Plaintiffs said they would send their list of 14 or so providers by
the morning of March 24 at the latest, but it wasn’t until March 25—two weeks after the Court
reopened discovery—that we received a list that was 50 providers long. We will explore
1
 We confirm that the United Defendants have sent Plaintiffs all documents we received from
providers and other third parties in response to our subpoenas in this matter.
2
  It would also be troubling to produce voluminous member identifying information and
protected health material, given Plaintiffs’ counsel’s careless treatment of the previously-
produced provider materials and apparent violations of the protective order. See Dkts. 463,
467.
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whether it’s possible to timely produce identified in-scope claims data for these 50 providers.
In the meantime, however, we would like to meet and confer to discuss narrowing Plaintiffs’
request for identified claims data. Please let us know what times would work for a call to
discuss.

       As we also explained on our March 21 call, the scope of the United Defendants’
discovery will depend in large part on which and how many providers from whom Plaintiffs
seek information. For this reason, please confirm that Plaintiffs’ provider list includes all
providers from whom Plaintiffs have sought or intend to seek information to support their
upcoming class certification motion—whether through discovery or informal means—
regardless of whether Plaintiffs will request identified claims data for those providers.

       Parties’ calls with providers. During the original fact discovery period, Plaintiffs
“requested to be included on any discussions [between] providers” and the United Defendants,
and the United Defendants obliged Plaintiffs’ request. Hr’g Tr. (April 1, 2022) at 20:12-13,
21:16-18. On the parties’ March 21 call, the United Defendants proposed that the parties
mutually agree to give advance notice of any calls with providers related to obtaining
information for the upcoming class certification briefing. This mutual arrangement would
promote fairness and efficiency, by ensuring that all parties stay informed of any conversations
with providers about the issues. This would obviate the inefficient need for a party to report
on conversations with providers and would enable parties to act quickly on any information
relayed by providers.

       Plaintiffs said they would consider our request; please immediately let us know
whether Plaintiffs will agree, so that the United Defendants may seek relief from the Court if
necessary. Plaintiffs would not need to include the United Defendants on calls with providers
about non-substantive procedural or logistical issues (e.g., extensions of time for providers to
respond to Plaintiffs’ requests).

        United Defendants’ third party discovery. As we explained on the March 21 call, the
United Defendants likely will take discovery via subpoena from any providers from whom
Plaintiffs seek or obtain information for their class certification motion. The United
Defendants may also take discovery from additional providers, depending on which providers
are included on Plaintiffs’ list. For these reasons, and as requested above, it is critical that
Plaintiffs confirm they have sent us the full list of providers from whom Plaintiffs have sought
or intend to seek information to support their upcoming class certification motion as soon as
possible.
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        Plaintiffs’ discovery responses. Some of the United Defendants’ discovery requests
already served on Plaintiffs are also relevant to the upcoming class certification briefing. To
that end, please respond to the interrogatory and produce documents responsive to the requests
Production listed below, to the extent relevant to the issues of “balance billing and standard of
review identified” in the Court’s February 6 order denying class certification (Dkt. 469):

          RFP 8: All documents regarding any bills, invoices, demands for payment,
           collections, follow-up, account statements, or other communications about billing
           and payment regarding any claim for benefits for mental health and/or substance
           abuse disorders, including the amounts alleged in paragraphs 29, 358, 360–61, 507,
           and 525 of the Complaint.

          RFP 9: All documents regarding any amounts billed, allowed, reimbursed, or paid
           for treatment of mental health and/or substance abuse disorders, including any
           “UCR” amounts.

          RFP 10: All documents reflecting any communications with a provider and/or
           facility (including any employee or representative of the provider and/or facility)
           regarding benefits, payment, reimbursement, a payment plan or schedule,
           discounts, collections, waivers, write-offs, UCR, or any other financial
           arrangement related to treatment of mental health and/or substance abuse disorders.

          RFP 11: All documents reflecting any payments for treatment of mental health
           and/or substance abuse disorders, including any cancelled checks, credit card
           statements, account statements, and debit records.

          IROG 13: For each treatment identified in response to Interrogatory Nos. 1 and 12,
           identify each communication with a provider and/or facility (including any
           employee or representative of the provider and/or facility) about benefits, coverage,
           payment, reimbursement, a payment plan or schedule, discounts, demands for
           payment, collections, waivers, write-offs, “UCR,” or any other financial
           arrangements related to the treatment.

       For avoidance of doubt, these requests would encompass any responsive
communications between Plaintiffs’ counsel and providers. Please let us know when we can
expect Plaintiffs to produce materials and information responsive to these requests.

                                             *******
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Thomas E. Kelly
David M. Lilienstein
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       Thank you for your prompt response to these matters. Please let us know your
availability to meet and confer.

Best regards,


/s/ Derek K. Kraft


Derek K. Kraft


cc: All counsel of record
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               ATTACHMENT A
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Kraft, Derek K.

From:                Kelly, Tom E. <Tom.Kelly@AGG.com>
Sent:                Tuesday, March 25, 2025 11:28 AM
To:                  Kraft, Derek K.; Matt.Lavin@AGG.com; Sigler, Geoffrey
Cc:                  Aiken, Matthew G.; Matthews, Nicole R.; Blas, Lauren M.; Kasabian, Andrew M.; Ferraro, Justin F.;
                     Nicole.Wemhoff@AGG.com; Gwynn, Kiera C.; Ritter-Wiseman, Jeremy B.
Subject:             RE: LD et al v. United Behavioral Health et al Order



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Counsel –

Following the Court’s Order denying Plaintiffs’ renewed motion for class certification, the parties met and
conferred on February 26, 2025, to discuss an updated schedule and joint report. During that discussion, Plaintiffs
requested a non-deidentified class list from United, which United agreed to provide. On March 21, 2025—one
month after the initial conference—Plaintiffs and United met and conferred again regarding this request. For the
first time, United’s counsel indicated they do not have access to the data and that obtaining it could take months.

Given the limited discovery period, Plaintiffs need to match putative class members with balance bills issued by
providers and cannot wait for United’s estimated timeline. If United cannot provide the full non-deidentified class
list promptly, Plaintiffs request the production of claims data for putative class members with claims linked to 50
specified providers—representing just 0.03% of the providers in United’s deidentified class list. After United
produces this data, Plaintiffs ask that the full non-deidentified class list be provided as soon as possible.

Please confirm when we can expect the deidentified class data for these 50 providers. Additionally, please confirm
whether United has produced all documents it received from providers and other third parties in response to its
subpoenas in this matter.

Best,
Tom

   1. A Better Life Recovery
   2. Arise Recovery Centers of America
   3. BOLD Health
   4. Bridging the Gaps
   5. Clear Life Recovery
   6. High Watch Recovery Center
   7. La Jolla Recovery Center
   8. New Life Treatment Center
   9. Northeast Addiction Treatment Center
   10. Nova Recovery Center
   11. Ocean Breeze Recovery Center
   12. Pacific Palms Recovery
   13. Pacific Recovery Solutions
   14. Pathway to Hope
   15. PCI West Lake
   16. RECO Intensive Care
   17. Recovering Champions dba Cape Cod Behavioral Health
                                                             1
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   18. Recovery Village at Palmer Lake
   19. Royal Life Centers
   20. Silicon Beach Outpatient Treatment Center
   21. South Miami Recovery Center
   22. Stepping Stone of San Diego
   23. The Edge Treatment Center
   24. United Recovery Project
   25. Windmill Wellness Ranch
   26. Desert Cove Recovery Center
   27. Legacy Health Center Margate
   28. Transformations Treatment Center Inc.
   29. Keystone Recovery Center Inc.
   30. Advanced Health & Education MHSA
   31. White Sands Treatment Center
   32. Holistic Recovery Center
   33. Beach House Center for Recovery
   34. Sandstone Care Colorado LLC
   35. Indiana Center for Recovery LLC
   36. Insight Behavioral Health and Addiction
   37. Blvd Centers Inc.
   38. California Prime Recovery Services Inc.
   39. Immersion Recovery Center LLC
   40. The Beaches Treatment Center LLC
   41. Crestview Recovery Services LLC
   42. Recovery In Tune LLC
   43. White Sands Treatment Center of Tampa
   44. Ohio Addiction Recovery Center
   45. A New Start Inc
   46. Recovering Life Services LLC
   47. Beachside Rehab
   48. Oxford Treatment Center
   49. Pinnacle Peak Recovery LLC
   50. Willow Springs Recovery LLC


 Thomas E. Kelly
 OF COUNSEL
 d 404.873.8133

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 Celebrating 75 Years



From: Kraft, Derek K. <DKraft@gibsondunn.com>
Sent: Tuesday, March 18, 2025 5:48 PM
To: Lavin, Matt <Matt.Lavin@AGG.com>; Sigler, Geoffrey <GSigler@gibsondunn.com>
Cc: Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R. <NMatthews@gibsondunn.com>; Blas, Lauren
M. <LBlas@gibsondunn.com>; Kasabian, Andrew M. <AKasabian@gibsondunn.com>; Ferraro, Justin F.
<Justin.Ferraro@AGG.com>; Wemhoff, Nicole E. <Nicole.Wemhoff@AGG.com>; Gwynn, Kiera C.
<Kiera.Gwynn@AGG.com>; Ritter-Wiseman, Jeremy B. <Jeremy.Ritter-Wiseman@AGG.com>; Kelly, Tom E.
<Tom.Kelly@AGG.com>
Subject: [EXTERNAL] RE: LD et al v. United Behavioral Health et al Order


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                                                                                                                                 Case 4:20-cv-02254-YGR                                                                                                      Document 477-2   Filed 06/13/25   Page 10 of 14

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Thanks, Matt. We’re available to meet and confer at 3pm ET on Friday. We’ll send an invite. And
we will aim to re-produce the Summer 2022 third-party provider productions before our call.

Derek K. Kraft
Associate Attorney

T: +1 202.887.3771
DKraft@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-4504




From: Lavin, Matt <Matt.Lavin@AGG.com>
Sent: Tuesday, March 18, 2025 11:58 AM
To: Sigler, Geoffrey <GSigler@gibsondunn.com>
Cc: Kraft, Derek K. <DKraft@gibsondunn.com>; Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R.
<NMatthews@gibsondunn.com>; Blas, Lauren M. <LBlas@gibsondunn.com>; Kasabian, Andrew M.
<AKasabian@gibsondunn.com>; Ferraro, Justin F. <Justin.Ferraro@AGG.com>; Nicole.Wemhoff@AGG.com; Gwynn,
Kiera C. <Kiera.Gwynn@AGG.com>; Ritter-Wiseman, Jeremy B. <Jeremy.Ritter-Wiseman@AGG.com>;
Tom.Kelly@AGG.com
Subject: RE: LD et al v. United Behavioral Health et al Order
Geoff, could you please reproduce that Summer 2022 production? We have changed document management systems since then. Maybe that’s why we can’t find it. If it is possible to do today, that would b=great and we will keep an eye out for the identified




Geoff, could you please reproduce that Summer 2022 production? We have changed document
management systems since then. Maybe that’s why we can’t find it. If it is possible to do today, that
would b=great and we will keep an eye out for the identified data. There is a short time for this discovery.

We can meet & confer on Friday. Either between 10am-1pm, or 2pm -4pm.

             Matt Lavin
             PARTNER
             d 202.677.4959

              ARNALL GOLDEN GREGORY LLP
              Celebrating 75 Years



From: Sigler, Geoffrey <GSigler@gibsondunn.com>
Sent: Tuesday, March 18, 2025 10:34 AM
To: Lavin, Matt <Matt.Lavin@AGG.com>
Cc: Kraft, Derek K. <DKraft@gibsondunn.com>; Aiken, Matthew G. <MAiken@gibsondunn.com>; Matthews, Nicole R.
<NMatthews@gibsondunn.com>; Blas, Lauren M. <LBlas@gibsondunn.com>; Kasabian, Andrew M.
<AKasabian@gibsondunn.com>
Subject: [EXTERNAL] RE: LD et al v. United Behavioral Health et al Order

                                                                                                                                                                                                                                                                     3
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Matt, if you could send correspondence like this to the complete defense team, so that it
can be reviewed and analyzed promptly on our side, I would appreciate it. I am adding my
colleagues here.

From your email, I think there may be some confusion on your side. My understanding is
that in Summer 2022 we produced to you the third party providers’ productions without
any added redactions by Gibson Dunn. See attached transmittal letters. Perhaps you are
looking not at these productions, but at the as-filed versions of these documents,
because we made additional redactions of PHI/PII prior to filing them with the Court. But
the key point is, you should have what we have from our productions in Summer 2022—let
me know if this resolves your request related to the third party productions.

On your other request related to claim data, we are reviewing your request to add names
to the data files we previously produced in 2022, but will need some time to figure out
what would be involved in doing that. This is the first time we’ve received this request,
and it isn’t something that can be turned around in 24 hours.

This email exchange highlights for me the need to meet and confer more broadly on what
discovery will look like in this phase of the case, to ensure that things go as efficiently and
expeditiously as possible—and hopefully avoiding one-off emails to each other
demanding 24-hour turnarounds. Could we schedule a call for this Thursday or Friday? I
suggest we include MultiPlan’s counsel as well.

Geoff

Geoffrey Sigler
Partner

T: +1 202.887.3752 | M: +1 703.304.1035
GSigler@gibsondunn.com

GIBSON DUNN
Gibson, Dunn & Crutcher LLP
1700 M Street, N.W., Washington, D.C. 20036-4504

From: Lavin, Matt <Matt.Lavin@AGG.com>
Sent: Monday, March 17, 2025 12:13 PM
To: Sigler, Geoffrey <GSigler@gibsondunn.com>
Subject: LD et al v. United Behavioral Health et al Order
Hi Geoff: We were looking at the supporting documents for the declarations and many of them appear to be redacted by your firm for PHI/PII. I realize some 3d pty declarants may have made redactions themselves, but many redactions are clearly




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Hi Geoff:

We were looking at the supporting documents for the declarations and many of them appear to be
redacted by your firm for PHI/PII. I realize some 3d pty declarants may have made redactions
themselves, but many redactions are clearly Gibson redactions. (e.g. Pacific Palms) We need to match
up patient names on the balance bills with the claims for the putative class and we need the unredacted
versions to do that. We also need the “identified” version of the original claims data for the putative
class that you produced, and it needs to show patient names.

PHI/PII is obviously covered under the PO. Kindly produce the above to us within the next 24 hours, by
12pm est on March 18.

 Matt Lavin
 PARTNER
 d 202.677.4959

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 Celebrating 75 Years



From: ECF-CAND@cand.uscourts.gov <ECF-CAND@cand.uscourts.gov>
Sent: Tuesday, March 11, 2025 9:24 PM
To: efiling@cand.uscourts.gov
Subject: [EXTERNAL] Activity in Case 4:20-cv-02254-YGR LD et al v. United Behavioral Health et al Order


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                                                 U.S. District Court

                                           California Northern District

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Case Name:           LD et al v. United Behavioral Health et al
Case Number:         4:20-cv-02254-YGR

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Filer:
Document Number: 472

Docket Text:
ORDER RE: SCHEDULE FOR LIMITED DISCOVERY AND SUBSEQUENT BRIEFING. Close of
Fact Discovery due by 6/13/2025. Plaintiff's Renewed Motion for Class Certification due by
7/14/2025. Defendant's Response due by 8/4/2025. Plaintiff's Reply due by 8/25/2025. Hearing
on renewed Motion for Class Certification set for 9/9/2025, at 02:00 PM in Oakland, Courtroom
1, 4th Floor before Judge Yvonne Gonzalez Rogers. Signed by Judge Yvonne Gonzalez
Rogers on 3/11/2025. (eac, COURT STAFF) (Filed on 3/11/2025)


4:20-cv-02254-YGR Notice has been electronically mailed to:

Brittany Holt Alexander     brittany.alexander@phelps.com

Craig L Caesar      Craig.Caesar@phelps.com, trisha.crombie@phelps.com

Damon David Eisenbrey       damon.eisenbrey@agg.com

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Errol J King , Jr   errol.king@phelps.com, cheryl.johnston@phelps.com, naya.wiley@phelps.com

Geoffrey M. Sigler     GSigler@gibsondunn.com

Heather Lynn Richardson       HRichardson@gibsondunn.com

James Rogers Wiseman        james.wiseman@agg.com

Joshua Lipton       Jlipton@gibsondunn.com

Katherine C. Mannino      katie.mannino@phelps.com

Katie Joy Spielman      katie@dllawgroup.com

Lauren Margaret Blas      lblas@gibsondunn.com, PACER-CA@gibsondunn.com

Matthew M. Lavin matt.lavin@agg.com, christi.ellingson@agg.com, James.Wiseman@agg.com,
Jeremy.Ritter-Wiseman@agg.com, Nicole.Wemhoff@agg.com

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Nicole Renee Matthews       NMatthews@gibsondunn.com, agomez@gibsondunn.com

Richard Collins      rich.collins@agg.com, JKirwin@callahan-law.com
                                                 6
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Richard Gustavo Garcia       rgg@mmker.com, ldp@manningllp.com

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Wendy Aline Mitchell WAMitchell@napolilaw.com, kurrea@napolilaw.com,
MLavin@napolilaw.com, SBlackmar@napolilaw.com

4:20-cv-02254-YGR Please see Local Rule 5-5; Notice has NOT been electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:C:\fakepath\(20-2254) Order re Limited Discovery Schedule.pdf
Electronic document Stamp:
[STAMP CANDStamp_ID=977336130 [Date=3/11/2025] [FileNumber=22211622-0]
[90c05da4f89ded61e245f1c178fb46a696b9249b8fd7271ac2bc1ec3f8e26aff3c1f
87623edce280c946bc4fdd253326841e44764499e5931ccde28ee51d5a26]]


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